966 F.2d 1444
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Lenard SMALL, Plaintiff-Appellant,v.L. V. STEPHENSON;  Bert Esworthy, Defendants-Appellees,andJ. J. CLARK;  Pat Chavis;  E. E. Jackson;  C. L. Sparkman;Ransom Hayes;  William Stafford, Defendants.
    No. 92-6346.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 30, 1992Decided:  July 2, 1992
    
      James Lenard Small, Appellant Pro Se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, North Carolina, for Appellees.
      Before RUSSELL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      James Lenard Small appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Small v. Stephenson, No. CA-90-241-F (E.D.N.C. Feb. 28, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    